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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

  DZ JEWELRY LLC d/b/a ZADOK                      §
  JEWELERS,                                       §
                                                  §
                    Plaintiff,                    §
                                                  §
  v.                                              §       CIVIL ACTION NO. __________
                                                  §
  CERTAIN UNDERWRITERS AT                         §
  LLOYD’S, LONDON SUBSCRIBING                     §
  TO POLICY NO. SS0140418/7266,                   §
                                                  §
                    Defendant.                    §

                            PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff DZ Jewelry LLC d/b/a Zadok Jewelers (“Zadok”) files this Original Complaint

against Defendant Certain Underwriters at Lloyd’s, London Subscribing to Policy No.

SS0140418/7266 (“Lloyd’s of London”) and, in support of its causes of action, would respectfully

show the Court the following:

                                    I.     NATURE OF ACTION

        1.     This is an original complaint for breach of contract and declaratory and injunctive

relief arising from Lloyd’s of London’s refusal to pay COVID-19 related claims as required by

its insurance policies it sold to Zadok.

        2.     Zadok owns and operates a retail jewelry store located at 1749 Post Oak Blvd.,

Houston, Texas 77056. This jewelry store is located in the Uptown commercial and residential

district in Houston, which is home to many luxury and high-end retailers of jewelry, watches,

clothing, and automobiles, and which is internationally renowned and attracts affluent buyers from

around the world.
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       3.      As a result of various orders issued by the State of Texas and Harris County relating

to COVID-19, and due to the prevalence of COVID-19 itself, Zadok was required to close its store

completely from March 23, 2020 through April 30, 2020, and only permitted to open its store with

a reduced capacity from May 1, 2020 through to the present. As a result of this extended closure

and subsequent reopening under significantly reduced capacity, Zadok has experienced

approximately $2 million in lost sales.

       4.      Zadok purchased an all-risk commercial property insurance policy from Lloyd’s of

London to indemnify it for business income lost due to the shutdown of its operations. Zadok paid

thousands in annual premiums for the policy for coverage under the policy, with 30 days of

business income loss coverage, two weeks of civil authority coverage, and related extra expense

coverage.

       5.      Yet, despite Zadok’s claim for payment under the policy to cover these losses to its

income, Lloyd’s of London has refused to provide the protection that Zadok purchased, citing

policy exclusions and coverage defenses that do not apply and which have no merit.

       6.      On March 11, 2020, the World Health Organization (WHO) issued an

announcement declaring that COVID-19 had become a pandemic. On March 16, 2020, the United

States issued new guidelines urging avoidance of gatherings of more than ten people, and states,

counties and cities across the nation began announcing widespread business shutdown and stay-at-

home orders, including orders issued by the State of Texas and Harris County, where Zadok’s store

is located. As of the date of filing of this complaint, more than 5.5 million people were confirmed

to have been infected with COVID-19 in the United States, with over 173,000 deaths reported

nationwide, according to the United States Centers for Disease Control and Prevention (“CDC”).




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       7.      COVID-19 is caused by a novel coronavirus now known as Severe Acute

Respiratory Syndrome Coronavirus 2 (SARS-CoV-2). It is a physical virus that is spread and

transmitted through the air and contact with surfaces of property. While the virus reportedly

originated in China, the rapid transmission of COVID-19 has resulted in the United States alone

in an exponential increase in the number of cases to about forty times the number of reported cases

and thirty times the number of reported deaths in mainland China. For the purposes of this

complaint, Zadok refers to both the virus and the resulting diseases as COVID-19.

       8.      The virus easily disseminates among humans through respiratory droplets, which

are produced by coughing, sneezing and talking, and through aerosols, which are released during

breathing. It can also spread through contact with an object or surface containing the virus. Infected

aerosols can remain suspended for hours in the air and for days on objects and surfaces, potentially

infecting someone who unwittingly touches an infected object or surface and then touches his or

her face.

       9.      As of April 1, 2020, the United States and every state in the Union had issued

emergency declarations relating to COVID-19, and by mid-April 95% of the population of the

United States was under one or more state or local directives to, among other things, refrain from

close contact with other persons. While some of these orders and declarations were lifted, the re-

acceleration of COVID-19 cases in late spring and early summer has led 22 states to pause or

reverse their reopening processes as of July 22, 2020.

       10.     The closure orders typically ordered the shutdown of businesses deemed “non-

essential” and prohibited in-person services to be provided on their premises. Businesses deemed

“essential” have also been heavily impacted by the closure orders. For example, businesses deemed

to be essential have had to cease in-person services (such as dining in a restaurant), adjust cleaning




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protocols, limit hours, install barriers between employees and customers, and supply employees

with personal protective equipment. Many of these businesses have been unable to keep employees

at work on their premises because of their fear of becoming infected.

       11.     During the pandemic, Governor Greg Abbott of the State of Texas has issued

various business shut down and closure orders. Similar orders have also been issued by County

Judge Lina Hidalgo of Harris County. Additionally, both the State of Texas and Harris County

have issued emergency orders related to the COVID-19 pandemic. Together, these Closure Orders

have caused the suspension of operations by both non-essential and essential businesses, including

the complete shutdown of Zadok’s retail jewelry store.

       12.     The first case of COVID-19 in Texas was reportedly confirmed on March 4, 2020,

in Fort Bend County—a county contiguous with Harris County and within close proximity to

Zadok’s store. The first case in Harris County, Texas was confirmed on March 5, 2020. Harris

County remained open for business for approximately nineteen (19) days after the first cases were

reported. Given that it takes up to fourteen days to develop symptoms after infection, people

infected by the virus, or who had contact with other infected people, have likely visited Zadok’s

store, and thereby contaminated Zadok’s store and surrounding property with the virus by the time

of the Closure Orders, and thereafter. By March 20, 2020, there was a known risk that surfaces of

physical property located in businesses nationwide were potentially infected, and that risk, among

others, prompted the Closure Orders, as acknowledged in those orders.

       13.     The transmission of COVID-19 and the Closure Orders have adversely impacted

Zadok’s business. For example, customers could not access Zadok’s place of business due to the

Closure Orders or the fear of being infected with COVID-19. Suppliers to businesses have also




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been adversely impacted by the Closure Orders and COVID-19. And, three Zadok employees have

tested positive for COVID-19 since the pandemic began.

       14.      But Zadok, like other businesses, prudently prepared for an unexpected event like

the COVID-19 pandemic. Specifically, Zadok purchased insurance from Lloyd’s of London, under

Policy No. SS0140418/7266 (the “Policy”), that did not exclude coverage for income loss caused

by a virus.

       15.      The Policy protected Zadok from business income losses at its store located at 1749

Post Oak Blvd., Houston, Texas 77056 (“Insured Premises”).

       16.      The Insured Premises generates an average of $40 million in sales annually.

       17.      The Policy provides coverage for:

              a. Business income losses sustained due to the necessary suspension of operations

                 (“Business Income” coverage)

              b. Expenses incurred to minimize the suspension of business and to continue

                 operations after a suspension of business (“Extra Expense” coverage)

              c. Interruption of business caused by an order from a civil authority (“Civil

                 Authority” coverage)

       18.      In addition, the Policy requires that Zadok take all reasonable steps to protect the

Insured Premises from damage. In this situation, this required Zadok to suspend operations to

reduce the risks of infection by COVID-19 and the contamination of the Insured Premises and

further injury that would be occasioned by the spread of COVID-19 at Zadok’s store. Had Zadok

not suspended operations, it would have been in breach of its duties under the Policy.

       19.      On or about April 3, 2020, Zadok initiated a claim with Lloyd’s of London for

interruption of business, loss of business income, and extra expenses as a result of COVID-19.



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        20.     On May 28, 2020, Lloyd’s of London issued a denial letter to Zadok regarding this

claim. This denial letter does not detail or otherwise show findings from any investigation, but

rather consists almost entirely of Lloyd’s of London’s self-serving interpretations of its own policy

language.

        21.     Lloyd’s of London has caused substantial harm to Zadok by wrongfully refusing

coverage under the Policy.

        22.     Zadok seeks to recover damages for breach of contract, as well as declaratory and

injunctive relief.

                                          II.   PARTIES

        23.     Zadok is a limited liability company which is a resident of the State of Texas and

transacts business in Harris County, Texas. Zadok operates a retail jewelry store located at 1749

Post Oak Blvd., Houston, Texas 77056.

        24.     Lloyd’s of London is an insurance company doing business in the State of Texas.

It can be served by serving its registered agent for service of process, Mendes & Mount (N.Y.),

via certified mail, at 750 7th Avenue, New York, New York 10019-6829.

                             III.   JURRISDICTION AND VENUE

        25.     This court has jurisdiction over this action under 28 U.S.C. § 1332 because there is

and was complete diversity between the parties and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

        26.     Venue is proper under 28 U.S.C. § 1391(b)(2) as a substantial part of the events or

omissions giving rise to the claim occurred within the jurisdictional boundaries of this district and

division. In particular, the insurance policy in effect covered the Zadok store located in this




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division, and the event giving rise to the coverage dispute pertained in part to orders emanating

from the leadership of Harris County, Texas, which is located within this division.

                              IV.    FACTUAL BACKGROUND

   A. The Physical Transmission of the Virus Through Air and Surfaces

       27.     According to the CDC, COVID-19 can spread by respiratory droplets when an

infected person talks, sneezes, or coughs, and can also be spread through contact with surfaces

touched or breathed on by an infected person. According to several studies, the virus can live on

surfaces for several days.

       28.     Coronaviruses are not new. The name comes from the crown-like appearance of the

array of spikes around the enveloped virion. Coronaviruses are responsible for approximately 25%

of human colds of all age groups. The SARS-CoV-2 disease that spread from southern China in

2002 is a coronavirus. Prior studies have shown that coronaviruses have been detected on surfaces

of physical objects located in a wide array of public spaces and businesses, including hospitals,

daycare centers, offices, and restaurants. Studies found that SARS-CoVs have retained their

infectivity for up to nine days on surfaces. And studies have shown that coronaviruses can live for

up to eight days on produce, such as lettuce, and can be recovered from lettuce with an efficiency

of 19.6%.

       29.     In an article posted on the National Institute of Health’s website on March 24, 2020,

the NIH stated that “[v]iruses can live for a time on surfaces outside the human body. According

to the CDC, it may be possible to contract the virus responsible for the current outbreak, SARS-

CoV-2, by touching a surface or object with the virus on it and then touching your face.”

       30.     When frozen, viruses can survive up to two years and can travel across the globe




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undetected. In August 2020, Chinese authorities found samples of COVID-19 on the surface of

frozen chicken wings imported from Brazil and the outer packaging of frozen shrimp imported

from Ecuador. Likewise, New Zealand authorities are investigating whether the recent COVID-19

outbreak in Auckland—which ended the country’s 102-day streak without any community

transmission of COVID-19—stemmed from the surface of imported frozen food containers due to

multiple of the first cases being traced to workers at a frozen food warehouse.

       31.     In addition, studies have reported that COVID-19 has been detected in the air. The

NIH article reported that a study published in the New England Journal of Medicine found that

aerosols containing the virus remained highly infectious in the air for at least 3 hours. In that study,

published on March 17, 2020, Researchers led by Dr. Vincent Munster of NIH’s National Institute

of Allergy and Infectious Diseases studied how long the virus survives in the air and on surfaces.

The researchers reported that the COVID-19 virus remained infectious on plastic and stainless-

steel surfaces for two to three days, and it remained infectious for up to 24 hours on cardboard

surfaces. The study found that “Aerosols from infected persons may therefore pose an inhalation

threat even at considerable distances and in enclosed spaces….” The NIH, reporting on the study,

stated that the “results suggest that people may acquire SARS-CoV-2 through the air and after

touching contaminated objects.”

       32.     These air and surface transmissions are made possible in part because COVID-19

transmits through aerosols. The American Association for the Advance of Science’s prestigious

magazine Science recently published an article by Dr. Kimberly Prather, who found that COVID-

19 transmits through aerosols—which are produced by normal breathing—and through surfaces

on which the aerosol particles land. She reported


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        Respiratory infections occur through the transmission of virus-containing droplets
        (>5 to 10 μm) and aerosols (≤5 μm) exhaled from infected individuals during
        breathing, speaking, coughing, and sneezing. Traditional respiratory disease control
        measures are designed to reduce transmission by droplets produced in the sneezes
        and coughs of infected individuals. However, a large proportion of the spread of
        coronavirus disease 2019 (COVID-19) appears to be occurring through airborne
        transmission of aerosols produced by asymptomatic individuals during breathing
        and speaking (1–3). Aerosols can accumulate, remain infectious in indoor air for
        hours, and be easily inhaled deep into the lungs. 1

        33.      Dr. Prather also found that because it transmits as an aerosol, COVID-19 can

physically contaminate surfaces and be transmitted through contact with those infected surfaces.

        Respiratory droplets will undergo gravitational settling faster than they evaporate,
        contaminating surfaces and leading to contact transmission. Smaller aerosols (≤5
        μm) will evaporate faster than they can settle, are buoyant, and thus can be affected
        by air currents, which can transport them over longer distances. Thus, there are two
        major respiratory virus transmission pathways: contact (direct or indirect between
        people and with contaminated surfaces) and airborne inhalation.2

        34.      The World Health Organization corroborated Dr. Prather’s research, finding that

COVID-19 had at least eight different confirmed modes of transmission, including contact, droplet,

airborne, and fomite (i.e., infected surfaces). When droplets expelled by infected individuals land

on and contaminate a surface, the surface becomes a viable transmitter of COVID-19 “for periods

ranging from hours to days, depending on the ambient environment (including temperature and

humidity) and the type of surface.”3

        35.      In an interview with America magazine on May 26, Dr. Anthony Fauci, who leads

the National Institute of Allergy and Infectious Diseases, referenced aerosol transmission in

churches. "When you sing, the amount of droplets and aerosol that come out is really, in some



1
  https://science.sciencemag.org/content/early/2020/05/27/science.abc6197.
2
  Id.
3
  https://www.who.int/news-room/commentaries/detail/transmission-of-sars-cov-2-implications-for-infection-
prevention-precautions


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respects, scary," Dr. Fauci said.4

        36.     Similarly, another scientist, Dr. Lidia Morawska, told Nature that, “In the minds of

scientists working on this, there’s absolutely no doubt that the virus spreads in the air. This is a no-

brainer.”5

        37.     The World Health Organization, in its guidance on wearing masks, recognized that

COVID-19 can transmit person-to-person “directly by contact with infected people, or indirectly

by contact with surfaces in the immediate environment or with objects used on or by the infected

person,” with the primary mode of transmission “via respiratory droplets and contact routes.”6

        38.     Other studies have shown that in addition to water droplets, COVID-19 is

transmitted through aerosols. A study of hospitals in Wuhan, China, found COVID-19 in aerosols

further than 6 feet, and up to 13 feet, from patients with higher concentrations detected in more

crowded areas.7 Those authors found evidence of the virus on floors, trash bins, air vents, and other

places. Estimates using an average viral load for COVID-19 indicate that one minute of loud

speaking could generate more than 1000 virion-containing aerosols.8

        39.     Other studies have used invisible fluorescent tracers—decoy germs that glow under

black light—to track how germs are spread from surfaces. In one series of experiments, 86 percent

of workers were contaminated when spray or powder tracers were put on commonly touched

objects in an office. When tracer powder was put on a bathroom faucet and exit doorknob, the



4
  https://www.americamagazine.org/faith/2020/05/27/dr-anthony-fauci-catholic-churches-masks-communion-covid-
coronavirus.
5
  https://www.nature.com/articles/d41586-020-00974-w.
6
  World Health Organization, Advice on the Use of Masks in the Context of COVID-19, at 1-2 (June 5, 2020).
7
  Y. Liu et al., Nature (2020). doi:10.1038/s41586-020-2271-3pmid:32340022.
8
  V. Stadnytskyi, C. E. Bax, A. Bax, P. Anfinrud, Proc. Natl. Acad. Sci. U.S.A. 202006874 (2020).
doi:10.1073/pnas.2006874117pmid:32404416.


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glowing residue was found on employees’ hands, faces, phones and hair. From a shared cell phone,

the tracer spread to desktop surfaces, drinking cups, keyboards, pens and doorknobs. A

contaminated copy machine button added a trail of fluorescent finger prints transferred to

documents and computer equipment. And just twenty minutes after arriving home from the office,

the decoy germs carried by the employee were found on backpacks, keys and purses, and on home

doorknobs, light switches, countertops and kitchen appliances.9

        40.      A recent study of an outbreak from a restaurant in China concluded that the

transmission in that case was likely prompted by air-conditioned ventilation.10 In that case, from

January 26 through February 10, 2020, an outbreak of COVD-19 infected ten persons from three

families (families A–C) who had eaten at the same air-conditioned restaurant in Guangzhou, China.

The only known source of exposure for the affected persons in families B and C was patient A1 at

the restaurant. The families were seated more than a meter apart, and yet 10 people became ill who

were at the restaurant that day. The authors concluded that the virus likely spread through the

restaurant’s air-conditioning system.

        41.      A 2014 analysis published in the scientific journal Clinical Infectious Diseases

investigated an outbreak of a SARS-CoV virus in an apartment complex where the residents were

not in close contact.11 The study found that “airborne spread was the most likely explanation, and

the SARS coronavirus could have spread over a distance of 200 meters,” or about 600 feet.12



9
  Kelly A Reynolds, Pamela M Watt, Stephanie A Boone & Charles P Gerba (2005) Occurrence of bacteria and
biochemical markers on public surfaces, International Journal of Environmental Health Research, 15:3, 225-234,
DOI: 10.1080/09603120500115298.
10
   Lu J, Gu J, Li K, Xu C, Su W, Lai Z, et al. COVID-19 outbreak associated with air conditioning in restaurant,
Guangzhou, China, 2020. Emerg Infect Dis. 2020 Jul [date cited]. https://doi.org/10.3201/eid2607.200764.
11
   https://academic.oup.com/cid/article/58/5/683/365793.
12
   Id.


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           42.      The fact that COVID-19 can spread through the aerosols, on surfaces, and through

the air has made the ease of transmission of the virus especially alarming. It means the virus can

spread to people who are not close to each other, who occupy the same space at different points in

time, or who merely breath the same air or touch common surfaces at different periods of time.

           43.      COVID-19 therefore has and continues to pose a direct threat of physical loss or

physical damage to property. Moreover, has and continues to render property unsafe.

       B. The COVID-19 Closure Orders

           44.      State and local governments across the United States have determined that, in light

of these dangers of physical transmission and the physical presence of the virus in affected

businesses, closure orders were required to slow the spread of COVID-19.

           45.      On March 11, 2020, the WHO declared COVID-19 a global pandemic. And

President Trump announced he would block travelers from continental Europe. On March 12,

2020, an influential scientific study posted on the CDC’s website found that surface transmission

of the virus was the most likely explanation for an outbreak at a Chinese shopping mall. 13 In that

study, the researchers studied an outbreak in January, when seven workers who shared an office

in a shopping mall became ill after one of their co-workers returned from Wuhan. Public health

officials tracked two dozen more sick people, including several women who had shopped at the

mall, as well as their friends. None of them had come into contact with the sick office workers.

The researchers concluded that “its findings appear to indicate that low intensity transmission

occurred without prolonged close contact in this mall; that is, the virus was spread by indirect

transmission.” One leading explanation was that the virus was “spread via fomites” (i.e., infected

surfaces), such as “elevator buttons or restroom taps.” Virus aerosolization was also suspected.


13
     https://www.nc.cdc.gov/eid/article/26/6/20-0412_article.


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       46.       On March 15, 2020, the CDC issued guidance restricting gatherings to less than 50

people. In the guidance, the CDC recognized the danger of spreading the virus through surface

transmission, and through the air, advising people to “clean frequently touched surfaces and

objects daily,” to cover “coughs and sneezes,” and to “routinely clean and disinfect surfaces and

objects that are frequently touched.”

       47.       A number of orders issued by the State of Texas and Harris County (collectively,

the “Closure Orders”) have directly impacted the operations of Zadok’s jewelry store.

       48.       On March 13, 2020, Texas Governor Greg Abbott declared a state of disaster due

to the spread of COVID-19 in Texas. A few days later, on March 17, 2020, Governor Abbott

requested that the Small Business Administration declare an Economic Injury Disaster Declaration

for the state; that request was granted on March 20, 2020.

       49.       On March 19, 2020, Governor Abbott issues several executive orders relating to

COVID-19, including:

                Banning gatherings of more than 10 people;

                Discouraging individuals from going to bars, food courts, restaurants, and gyms;

                Limiting visitations to retirement homes and long-term care facilities; and

                Temporarily closing all Texas schools.

       50.       On March 23, 2020, Governor Abbott requests that President Donald J. Trump issue

a disaster declaration for the State of Texas; this declaration was made on March 25, 2020.

       51.       Harris County Judge Lina Hidalgo issued a “Stay Home, Work Safe” Order on

March 24, 2020 which prohibited gatherings and limited activity to performing essential services.

       52.       This Harris County Order had been extended by Judge Hidalgo up through June 11,

2020. On that date, Harris County devised a color-coded system to apprise residents of the danger



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level pertaining to the risk of contracting COVID-19. As of August 20, 2020, Harris County is

currently at the highest and most dangerous level, Level 1: Stay Home, Work Safe.14

        53.      On March 31, 2020, Governor Abbott issued an additional order amending social

distancing guidelines and enacting further limitations on activities which may contribute to the

spread of COVID-19.

        54.      As of April 3, 2020, the Houston metropolitan area (including Harris County)

accounted for 38 percent of COVID-19 cases in the State of Texas.15

        55.      On April 11, 2020, Governor Abbott extended the disaster declaration for an

additional 30 days. This declaration would be extended yet again on May 12, 2020.

        56.      On April 27, 2020, Governor Greg Abbott issued Executive Order GA-18 which

still mandated that social gatherings be minimized and in person contact be limited, but allowed

for the reopening of retail establishments, including Zadok’s retail jewelry store, on May 1, 2020

at 25% capacity.

        57.      On May 5, 2020, and again on May 18, 2020, Governor Abbott amended the Texas

Order to allow for expanded retail openings up to 50% capacity.

        58.      On June 26, 2020, Governor Abbott further supplemented the Texas Order to

impose new restrictions on retail and restaurant establishments in light of an increasing number of

COVID-19 cases in the state.

        59.      As of April 1, 2020, at least forty-four states and local governments across the

country had issued orders entirely closing restaurants for in-person dining; at least five more


14
   HARRIS COUNTY, TEX., HARRIS COUNTY COVID-19 THREAT LEVEL SYSTEM, https://www.readyharris.org/Stay-
Safe (last visited August 20, 2020).
15
   Kamath, Tulsi (April 3, 2020). "At 2,029, Houston-area coronavirus cases account for 38% of all cases in Texas".
Click2Houston.com. Houston, Texas. Archived from the original on April 7, 2020. Retrieved July 7, 2020.



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allowed only limited on-site service; and one limited gatherings to no more than ten people.16 By

April 15, 2020, at least forty-three states had issued orders closing or severely limiting the

operation of non-essential businesses, and at least forty-seven states had issued orders prohibiting

restaurants from offering dine-in services, with other states either limiting on-site service or

prohibiting gatherings of more than ten people.17 The purpose of these orders was to try to mitigate

and slow the spread of COVID-19.

        60.      Every state has issued emergency declarations to slow the spread of COVID-19,

with many states reenacting or re-extending emergency declarations in June or July 2020 as

COVID-19 cases accelerated in much of the country. Twenty-two states paused or reversed their

reopening process, with a further eleven states still partially closed. 18 Moreover, even in places

that have reopened, businesses remain constantly threatened with further closures due to COVID-

19 contamination brought in by infected customers or employees.

        61.      The situation in a given location can and does change rapidly, as evidenced both by

the states that have reversed reopening, as well as by other countries, such as Australia, Croatia,

and Israel, that after having COVID-19 under control saw a second wave in July 2020 that

exceeded the first wave in March and April 2020.

        62.      Closure orders from around the country also explicitly acknowledge that COVID-

19 can spread in and damage physical property, including surfaces. For example, a March 17, 2020

New York City order explicitly noted that “the virus physically is causing property loss and

damage.” Moreover, these closure orders, as well as federal government guidance, specifically




16
   https://web.archive.org/web/20200401202749/https://www.kff.org/health-costs/issue-brief/state-data-and-policy-
actions-to-address-coronavirus/.
17
   https://web.archive.org/web/20200415130206/https://www.kff.org/health-costs/issue-brief/state-data-and-policy-
actions-to-address-coronavirus/.
18
   https://www.nytimes.com/interactive/2020/us/states-reopen-map-coronavirus.html


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recognize that COVID-19 endangers property, and can be physically spread by touching infected

surfaces and through the air

         63.     The global pandemic relating to the COVID-19 has had a tremendous impact

throughout the world, leading to more than 205,000 deaths in the United States alone to date.19

         64.     The COVID-19 pandemic has had a devastating effect on the United States, leading

to the involuntary shutdown of many businesses across the country, including Zadok’s store. Some

estimates have suggested that several hundred thousand of the small businesses in the United States

have shut down permanently due to COVID-19.

         65.     As a result of the Closure Orders, Zadok closed its store from March 23, 2020 until

April 30, 2020. The closure of its store due to COVID-19 resulted in a substantial loss of sales.

Zadok estimates that forced closure of the Insured Premises resulted in a loss of sales in excess

of $3 million.

         66.     Individuals who have tested positive have also been confirmed to have been present

at Zadok’s store, as three Zadok employees have tested positive since the pandemic began.

         67.     Although Zadok has since reopened its store, the capacity at the store at any

given time is limited. And, there remains an ongoing and real threat that it will become subject

to a new Closure Order, or have to temporarily shut down due to contamination from COVID -

19.

      C. Zadok’s Business Interruption Policy with Lloyd’s of London

         68.     In order to protect itself against unexpected risks like COVID-19, Zadok purchased



19
  CENTERS FOR DISEASE CONTROL AND PREVENTION, CORONAVIRUS DISEASE 2019 (COVID-19),
http://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last visited October 2, 2020).


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a commercial insurance policy from Lloyd’s of London.

       69.       Zadok and Lloyd’s of London entered into a contract of indemnity, whereby Zadok

agreed to make payments to Lloyd’s of London in exchange for Lloyds of London’s promise to

indemnify Zadok for losses including, but not limited to, business income losses due to business

interruption at its jewelry store located at 1749 Post Oak Blvd., Houston, Texas 77056.

       70.       The Insured Premises collectively generates around $3 million USD in sales on a

monthly basis.

       71.       The Insured Premises is covered under a policy issued by Lloyd’s of London with

Certificate Number SS0140418/7266.

       72.       The Policy was in full effect during the relevant time period, providing property,

business personal property, business income and extra expense, and ordinance or law coverage.

       73.       Zadok faithfully paid policy premiums to Lloyd’s of London to specifically

provide all risk coverage, including the extension of coverage in the event of the business’s closure

by order of civil authority.

       74.       Based on information or belief, Lloyd’s of London has accepted the policy

premiums with no intention of providing any coverage due to direct physical loss and/or from a

civil authority shutdown due to a global pandemic virus.

       75.       The closure of its retail jewelry stores due to COVID-19 resulted in a substantial

loss of sales. Zadok estimates that forced closure of the Insured Premises beginning on March

23, 2020 resulted in a loss of sales in excess of $3 million.

       76.       Generally, under business interruption policies like the one issued to Zadok by




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Lloyd’s of London, the policies provide coverage for all risks to property, unless specifically

excluded.

       77.     The Policy does not provide any exclusion due to losses, business or property, from

viruses or communicable diseases like COVID-19 in these circumstances. Nor does the Policy

contain a pandemic exclusion clause.

       78.     The risk of a virus like COVID-19 was foreseen, and foreseeable to, Lloyd’s of

London. The Insurance Services Office (“ISO”), an organization that provides policy writing

services to insurers, sent the following statement to state insurance regulators in 2006, in

connection with the submission of an exclusion of loss “due to disease-causing agents such as

viruses and bacteria”:

       Disease-causing agents may render a product impure (change its quality or substance), or
       enable the spread of disease by their presence on interior building surfaces or the surfaces
       of personal property. When disease-causing viral or bacterial contamination occurs,
       potential claims involve the cost of replacement of property (for example, the milk), cost
       of decontamination (for example, interior building surfaces), and business interruption
       (time element) losses. Although building and personal property could arguably become
       contaminated (often temporarily) by such viruses and bacteria, the nature of the property
       itself would have a bearing on whether there is actual property damage. An allegation of
       property damage may be a point of disagreement in a particular case.

       79.     Zadok’s Policy contains no such applicable virus exclusion, despite its availability

since 2006. Nor does Zadok’s Policy contain an exclusion for “pandemics,” “communicable

disease,” or anything similar.

       80.     Moreover, to mitigate further losses, as required by the Policy, Zadok suspended

operations while the Closure Orders and government officials announced that COVID-19 posed a

risk of causing further physical property damage and loss.

       81.     The Policy is composed of several distinct forms. Policyholders can pay for optional



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forms and coverages, but the forms themselves are standardized.

       82.     The Policy contains several types of additional coverages that provide coverage in

these circumstances.

       83.     The following coverages appear in the “BUSINESS INCOME COVERAGE AND

SPECIAL FORM (AND EXTRA EXPENSE)” addendum which is a standardized form with form

number “CP 00 30 10 91.”

       84.     Lloyd’s of London agreed to provide coverage from an interruption to business

caused by an action, such as an order, from a “Civil Authority.” Specifically, Lloyd’s of London

agreed to pay for loss of business income and extra expenses “caused by action of civil authority

that prohibits access to the described premises due to direct physical loss of or damage to property,

other than at the described premises, caused by or resulting from any Covered Cause of Loss.”

       85.     The term “Covered Causes of Loss” is defined to mean risks of direct physical loss

unless the loss is excluded or limited by the policy. The Closure Orders directly resulted from

direct physical loss caused by COVID-19, and the dangerous physical conditions resulting from

the continuation of the direct loss, and have caused Zadok to have lost the use of its premises for

their intended purpose, and no exclusion applies to these losses. Zadok’s losses are covered under

the Policy, including under the “Civil Authority” coverage. Access has been restricted to the

Covered Property, and immediate surrounding area, due to the presence and threat of COVID-19

in the immediate surrounding areas and related Closure Orders. Zadok has suffered approximately

$3 million per month in lost “Business Income” because it suspended operations of its business

due to COVID-19 and the Closure Orders.

       86.     Lloyd’s of London is also obligated to pay for actual loss of “Business Income”


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sustained “due to the necessary suspension of your ‘operations’ during the ‘period of restoration.’”

“Business Income” means “[n]et income (Net Profit or Loss before income taxes) that would have

been earned or incurred” as well as “[c]ontinuing normal operating expenses incurred, including

payroll.” Zadok has suffered approximately $3 million per month in lost Business Income because

of the necessary suspension of operations of its business due to the Closure Orders and COVID-

19.

       87.     Lloyd’s of London also agreed to pay for “Extra Expense.” Extra Expenses are

“necessary expenses [the policyholder] incur[s] during the ‘period of restoration’ that [the

policyholder] would not have incurred” absent the loss, including to repair or replace property.

Zadok suspended operations due to COVID-19 and the Closure Orders and has spent money to

break-down and clean the property for COVID-19 in order to minimize the suspension of business.

Likewise, after Zadok was permitted to resume business and end the suspension, Zadok has

suffered “Extra Expenses” to restore the property and prevent further damage to the property from

the ongoing COVID-19 pandemic.

       88.     The Policy exclusions which pertain to “pollutants” are inapplicable to a virus or

global pandemic. By its terms, this exclusion applies to industrial-type pollutants, not viruses, and

it does not once mention “viruses” or pandemics at all

       89. Zadok initiated a claim with Lloyd’s of London for interruption of business, loss of

business income, and extra expenses as a result of COVID-19 on or about April 3, 2020.

       90. On May 28, 2020, Lloyd’s of London issued a denial letter to Zadok regarding its

claim. This denial letter does not detail or otherwise show findings from any investigation, but

rather consists almost entirely of Lloyd’s of London’s self-serving interpretations of its own policy


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language.

       91. The denial letter issued by Lloyd’s of London gives the following reasons for denying

the claim:

                Zadok did not claim a covered loss to the insured property;

                The Seepage and Pollution Exclusion applied to the claim, as the Orders issued by
                 Judge Hidalgo concerned the threat of COVID-19, “which endangers the health,
                 safety and welfare of persons”;

                The Business Income provision did not apply, as there was no “claim for direct
                 physical loss or damage to property at the premises”;

                Extra Expense coverage did not apply as there was no physical loss or damage; and

                The Civil Authority coverage did not apply, as the action of the civil authority did
                 not restrict access to the premises

       92. Zadok files this complaint to pursue various causes of action including breach of

contract, bad faith, and violation of the Texas Prompt Payment of Claims Act (“TPPCA”) against

Lloyd’s of London, relating to its handling of the claim in question and the wrongful denial of

Zadok’s claim.

                                    V.    CAUSES OF ACTION

A.     Breach of Contract – Business Income

       93.       Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

       94.       Under Texas law, essential elements of a breach of contract claim are: (1) existence

of a valid contract; (2) performance or tendered performance by plaintiff; (3) breach of the contract

by the defendant; and (4) damages sustained by the plaintiff as a result of the breach. Toney v.

State Farm Lloyds, 108 F. Supp. 3d 475, 480 (S.D. Tex. 2014).

       95.       Zadok purchased a property coverage policy from Lloyd’s of London.




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        96.     Zadok had substantially performed its obligations under the Policy including by

paying all policy premiums due on the Policy and by giving sufficient notice of the claim to

Lloyd’s of London. Alternatively, Lloyd’s of London has waived any conditions, terms or defenses

to coverage.

        97.     The Policy is an enforceable contract between Lloyd’s of London and Zadok. The

Policy was in effect as of the date that Zadok’s retail jewelry store was required to close due to the

Closure Orders.

        98.     Zadok has sustained a loss under the Business Income coverage in the Policy due

to the COVID-19 virus and Closure Orders.

        99.     Lloyd’s of London breached the terms of that contract by wrongfully denying the

claim for Business Income coverage. Lloyd’s of London wrongfully denied the claim by

misrepresenting to Zadok the policy provisions and exclusions pertaining to the loss alleged.

        100.    As a direct and proximate result of Lloyd’s of London’s breach of contract, Zadok

has sustained substantial monetary damages in an amount to be determined at trial.

B.      Declaratory and Injunctive Relief – Business Income

        101.    Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

        102.    The Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        103.    An actual controversy has arisen and now exists between Zadok, on the one hand,

and Lloyd’s of London, on the other hand, concerning the respective rights and duties of the parties

under the Policy. On or about April 3, 2020, Zadok requested coverage for COVID-19-related

losses through its agent. Lloyd’s of London responded with a letter denying coverage and seeking

information that is not reasonably necessary to evaluate Zadok’s claim. Lloyd’s of London is in




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breach of its obligations by refusing to provide coverage despite having sufficient information to

evaluate and pay the claim.

       104.     Zadok seeks a declaration of the parties’ respective rights and duties under the

Policy and requests the Court declare the conduct of Lloyd’s of London alleged above to be

unlawful and in material breach of the Policy so that future controversies may be avoided.

Specially, Zadok seeks a declaration that:

             a. The losses incurred in connection with COVID-19 and the Closure Orders are

                insured losses under Zadok’s Policy; and

             b. Lloyd’s of London is obligated to pay the full amount of Zadok’s Business Income

                losses incurred and to be incurred in connection with COVID-19 and the Closure

                Orders during the period of restoration and the necessary suspension of its business

                operations.

       105.     Zadok further seeks an injunction enjoining Lloyd’s of London (1) from continuing

to engage in breaching its coverage obligations under the Business Income Coverage Extension;

and (2) ordering Lloyd’s of London to comply with the terms of the Policy regarding its coverage

decisions.

C.     Breach of Contract – Extra Expense

       106.     Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

       107.     Under Texas law, essential elements of a breach of contract claim are: (1) existence

of a valid contract; (2) performance or tendered performance by plaintiff; (3) breach of the contract

by the defendant; and (4) damages sustained by the plaintiff as a result of the breach. Toney v.

State Farm Lloyds, 108 F. Supp. 3d 475, 480 (S.D. Tex. 2014).

       108.     Zadok purchased a property coverage policy from Lloyd’s of London.




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        109.    Zadok had substantially performed its obligations under the Policy including by

paying all policy premiums due on the Policy and by giving sufficient notice of the claim to

Lloyd’s of London. Alternatively, Lloyd’s of London has waived any conditions, terms or defenses

to coverage.

        110.    The Policy is an enforceable contract between Lloyd’s of London and Zadok. The

Policy was in effect as of the date that Zadok’s retail jewelry store was required to close due to the

Closure Orders.

        111.    Zadok has sustained a loss under the Extra Expense coverage in the Policy due to

the COVID-19 virus and Closure Orders.

        112.    Lloyd’s of London breached the terms of that contract by wrongfully denying the

claim for Extra Expense coverage. Lloyd’s of London wrongfully denied the claim by

misrepresenting to Zadok the policy provisions and exclusions pertaining to the loss alleged.

        113.    As a direct and approximate result of Lloyd’s of London’s breach of contract,

Zadok has sustained substantial monetary damages in an amount to be determined at trial.

D.      Declaratory Judgment and Injunctive Relief – Extra Expense

        114.    Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

        115.    The Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        116.    An actual controversy has arisen and now exists between Zadok, on the one hand,

and Lloyd’s of London, on the other hand, concerning the respective rights and duties of the parties

under the Policy. On or about April 3, 2020, Zadok requested coverage for COVID-19-related

losses through its agent. Lloyd’s of London responded with a letter denying coverage and seeking

information that is not reasonably necessary to evaluate Zadok’s claim. Lloyd’s of London is in




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breach of its obligations by refusing to provide coverage despite having sufficient information to

evaluate and pay the claim.

       117.     Zadok seeks a declaration of the parties’ respective rights and duties under the

Policy and requests the Court declare the conduct of Lloyd’s of London alleged above to be

unlawful and in material breach of the Policy so that future controversies may be avoided.

Specially, Zadok seeks a declaration that:

             c. The losses incurred in connection with COVID-19 and the Closure Orders are

                insured losses under Zadok’s Policy; and

             d. Lloyd’s of London is obligated to pay the full amount of Zadok’s Extra Expense

                losses incurred and to be incurred in connection with COVID-19 and the Closure

                Orders during the period of restoration and the necessary suspension of its business

                operations.

       118.     Zadok further seeks an injunction enjoining Lloyd’s of London (1) from continuing

to engage in breaching its coverage obligations under the Extra Expense Coverage Extension; and

(2) ordering Lloyd’s of London to comply with the terms of the Policy regarding its coverage

decisions.

E.     Breach of Contract – Civil Authority

       119.     Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

       120.     Under Texas law, essential elements of a breach of contract claim are: (1) existence

of a valid contract; (2) performance or tendered performance by plaintiff; (3) breach of the contract

by the defendant; and (4) damages sustained by the plaintiff as a result of the breach. Toney v.

State Farm Lloyds, 108 F. Supp. 3d 475, 480 (S.D. Tex. 2014).

       121.     Zadok purchased a property coverage policy from Lloyd’s of London.




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        122.    Zadok had substantially performed its obligations under the Policy including by

paying all policy premiums due on the Policy and by giving sufficient notice of the claim to

Lloyd’s of London. Alternatively, Lloyd’s of London has waived any conditions, terms or defenses

to coverage.

        123.    The Policy is an enforceable contract between Lloyd’s of London and Zadok. The

Policy was in effect as of the date that Zadok’s retail jewelry store was required to close due to the

Closure Orders.

        124.    Zadok has sustained a loss under the Civil Authority coverage in the Policy due to

the COVID-19 virus and Closure Orders.

        125.    Lloyd’s of London breached the terms of that contract by wrongfully denying the

claim for Civil Authority coverage. Lloyd’s of London wrongfully denied the claim by

misrepresenting to Zadok the policy provisions and exclusions pertaining to the loss alleged.

        126.    As a direct and approximate result of Lloyd’s of London’s breach of contract,

Zadok has sustained substantial monetary damages in an amount to be determined at trial

F.      Declaratory Judgment and Injunctive Relief – Civil Authority

        127.    Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

        128.    The Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        129.    An actual controversy has arisen and now exists between Zadok, on the one hand,

and Lloyd’s of London, on the other hand, concerning the respective rights and duties of the parties

under the Policy. On or about April 3, 2020, Zadok requested coverage for COVID-19-related

losses through its agent. Lloyd’s of London responded with a letter denying coverage and seeking

information that is not reasonably necessary to evaluate Zadok’s claim. Lloyd’s of London is in




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breach of its obligations by refusing to provide coverage despite having sufficient information to

evaluate and pay the claim.

       130.    Zadok seeks a declaration of the parties’ respective rights and duties under the

Policy and requests the Court declare the conduct of Lloyd’s of London alleged above to be

unlawful and in material breach of the Policy so that future controversies may be avoided.

Specially, Zadok seeks a declaration that:

           e. The losses incurred in connection with COVID-19 and the Closure Orders are

               insured losses under Zadok’s Policy; and

           f. Lloyd’s of London is obligated to pay the full amount of Zadok’s Civil Authority

               losses incurred and to be incurred in connection with COVID-19 and the Closure

               Orders during the period of restoration and the necessary suspension of its business

               operations.

Zadok further seeks an injunction enjoining Lloyd’s of London (1) from continuing to engage in

breaching its coverage obligations under the Civil Authority Coverage Extension; and (2) ordering

Lloyd’s of London to comply with the terms of the Policy regarding its coverage decisions

G.     Violation of Texas Prompt Payment of Claims Statute

       131.    Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

       132.    Under Texas law, to prevail under a claim for damages under the Texas Prompt

Payment of Claims Act (“TPPCA”), the insured must establish: (1) the insurer’s liability under the

insurance policy; and (2) that the insurer has failed to comply with one or more sections of the

TPPCA in processing or paying the claim. Barbara Tech. Corp. v. State Farm Lloyds, 589 S.W.3d

806, 813 (Tex. 2019); see also Cox Operating, L.L.C. v. St. Paul Surplus Lines Ins. Co., 795 F.3d

496, 505 (5th Cir. 2015).




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       133.    Zadok seeks to establish Lloyd’s of London’s liability through the breach of

contract causes of action enumerated above.

       134.    The failure of Lloyd’s of London to pay for the losses and/or follow the statutory

guidelines for accepting or denying coverage constitutes a violation of the TPPCA, TEX. INS. CODE

§§ 542.051, et seq.

       135.    Zadok is therefore entitled to interest and attorneys’ fees as set forth in TEX. INS.

CODE § 542.060, in addition to its claim for damages.

H.     Bad Faith Violation of Texas Insurance Code Provisions

       136.    Zadok incorporates by reference the preceding paragraphs as if fully alleged herein.

       137.    Lloyd’s of London, as an entity engaged in the business of insurance, is required to

comply with Chapter 541 of the Texas Insurance Code.

       138.    Lloyd’s of London violated several provisions of Chapter 541 of the Texas

Insurance Code in its handling of Zadok’s claim.

       139.    Specifically, Lloyd’s of London violated TEX. INS. CODE § 541.051 by making

statements misrepresenting the terms and/or benefits of the policy by selling the policy as an all-

risk policy with no virus or pandemic exclusions, yet still denying coverage to Zadok for losses

due to COVID-19.

       140.    Lloyd’s of London also violated TEX. INS. CODE § 541.060 by: (1) misrepresenting

to Zadok a material fact or policy provision relating to coverage at issue; (2) failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of a claim with respect to which

the insurer’s liability had become reasonably clear; (3) failing to promptly provide to Zadok a

reasonable explanation of the basis in the policy, in relation to the facts or applicable law, for the

insurer’s denial of a claim or offer of a compromise settlement of a claim; (4) failing within a




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reasonable time to affirm or deny coverage of a claim to Zadok or submit a reservation of rights

to Zadok; and (5) refusing to pay the claim without conducting a reasonable investigation with

respect to the claim.

       141.    Further, Lloyd’s of London violated TEX. INS. CODE § 541.061 by: (1) making an

untrue statement of material fact; (2) failing to state a material fact necessary to make other

statements made not misleading considering the circumstances under which the statements were

made; (3) making a statement in a manner that would mislead a reasonably prudent person to a

false conclusion of a material fact; (4) making a material misstatement of law; and (5) failing to

disclose a matter required by law to be disclosed.

       142.    Lloyd’s of London’s violations of Chapter 541 of the Texas Insurance Code

enumerated above caused damages to Zadok in at least the amount of policy benefits wrongfully

withheld.

       143.    Lloyd’s of London knowingly committed the acts complained of. As such, Zadok

is entitled to exemplary and/or treble damages pursuant to TEX. INS. CODE § 541.152(a)-(b).

                                  VI.    ATTORNEYS’ FEES

       144.    Zadok engaged the undersigned attorneys to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

       145.    Zadok is entitled to reasonable and necessary attorneys’ fees pursuant to TEX. CIV.

PRAC. & REM. CODE §§ 38.001-003 because it is represented by an attorney, presented the claim

to Defendant, and Defendant did not tender the just amount owed before the expiration of the 30th

day after the claim was presented.




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       146.    Zadok further prays that it be awarded all reasonable attorneys’ fees incurred in

prosecuting its causes of action through trial and any appeal pursuant to TEX. INS. CODE §§ 541.152

and 542.060.

                                        VII.     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Zadok requests relief against

Defendant Lloyd’s of London as follows:

       1.      For a judgment against Lloyd’s of London for the claims for relief alleged against

               it;

       2.      For a judicial declaration that the policy of insurance extends coverage from direct

               physical loss and/or from a civil authority shut-down due to a global pandemic

               virus;

       3.      For monetary damages in an amount to be determined at trial;

       4.      For punitive damages;

       5.      For all prejudgment and post-judgment interest at the maximum rate allowable by

               law;

       6.      For Zadok’s reasonable and necessary attorney’s fees;

       7.      For Zadok’s costs incurred; and

       8.      For such other and further relief to which Zadok may be justly entitled.

                               VIII. JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38(b), Zadok demands a trial by jury of all

claims asserted in this complaint so triable.




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                                    Respectfully submitted,

                                    DALY & BLACK, P.C.

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